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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,                        Mag No.
                                                                        \-l0£>f]

  V.
                                                   ORDER

  JEFFREY BUSINSKY,

                  Defendant.



       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, and as set forth on the


record during the initial appearance of the defendant on this 6th day of June, 2024, in the

presence of both the prosecutor and defense counsel in this matter, the Court confirms the

United States' continuing obligation to produce all exculpatory evidence to the defendant


pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders itto do so.

Failing to do so in a timely manner may result in consequences, including, but not limited to,

the Court's order to produce information, the granting of a continuance, the exclusion of

evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions by

the Court.

                                                /s/ Andrea D. Bergman
                                               Hon. Andrea D. Bergman
                                               United States Magistrate Judge
